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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

 Bruce Allen Buckner,                  )      C/A No.: 0:20-3253-TLW-SVH
                                       )
                   Plaintiff,          )
                                       )
       vs.                             )
                                       )                 ORDER
 Rock Hill Police Department           )
 (“RHPD”); RHPD Sergeant Carsto;       )
 RHPD Officer Kunde; RHPD              )
 Officer Andrew Hems; RHPD             )
 Officer Terry Sanders; and RHPD       )
 Officer Robin Gander,                 )
                                       )
                   Defendants.         )
                                       )

      This matter comes before the court on Plaintiff’s motion for a free copy

of documents filed in this case. [ECF No. 15]. Plaintiff is not entitled to free

copies of documents he has filed. The court does not provide free copies to

litigants, including indigent litigants proceeding in forma pauperis.

Therefore, Plaintiff’s motion is denied. The Clerk’s Office charges 50 cents per

page for copies. If Plaintiff wishes to purchase a copy of his filings, he may

contact the Clerk of Court at 803-765-5816 or 901 Richland Street, Columbia,

SC 29201 to make payment arrangements.

      IT IS SO ORDERED.



September 30, 2020                         Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge
